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Attorneys for Defendant
Citibank, N.A.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

WANDA TIMMS,
Plaintiff,
- against -
CITIBANK, N.A.,

Defendant.

CASE No. 18 CV 1702-RJD-ST

 

 

FED. R. CIV. P. 7.1 CORPORATE DISCLOSURE
STATEMENT OF DEFENDANT CITIBANK, N.A.

Defendant Citibank, N.A., by its undersigned attorneys, discloses

pursuant to Fed. R. Civ. P. 7.1 that Citibank, N.A. is a subsidiary of Citigroup Inc., a

publicly held corporation. No publicly held corporation owns ten percent or more of the

stock of Citigroup Inc.

Dated: New York, New York

March 24, 2018

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TO: All appearing counsel by ECF
